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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

ZMCC PROPERTIES, LLC,
a Michigan Limited Liability Company,

                 Plaintiff,

vs.                                      Case No. 3:19-cv-12428-RHC-EAS
                                         Hon. Robert H. Cleland
                                         Mag. Judge Elizabeth A. Stafford
PRIMEONE INSURANCE COMPANY,
a California corporation,

               Defendant.
______________________________________/

              REPLY TO DEFENDANT’S RESPONSE TO
      PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                  PURSUANT TO FED. R. CIV. P. 56
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             COUNTERSTATEMENT OF ADDITIONAL FACTS

      28.    Denied in the manner and form alleged.             The emails Plaintiff

subpoenaed from the insurance agency do not include the document attached as

Defendant’s Appdx. 3 (ECF No. 40-4, PageID.1476-1479). Per the bates number

on Defendant’s Appdx. 3, it was taken from Defendant’s claim file and was attached

to an April 9, 2019 email from Defendant’s underwriter to its claim representative.

(PrimeOne Internal Email, dated 4/9/19, Appdx Ex. 27).

      29.    Plaintiff can neither admit nor deny allegation because the Acord

Applicant Information Section form attached as Defendant’s Appdx. 4 pertains to

the Lessor’s Risk policy issued to Conant Property Management, LLC (see ECF No.

42, PageID.1549), which is neither at issue in this action nor the subject of the

Endorsements 4, 5 and 6 at issue in this motion.

      30.    Admitted, except that Defendant’s Appdx. 5 does not contain the form

to which it refers. The referenced Loss Payable Provisions form identifies Plaintiff

as “Loss Payable” as opposed to “Loss Payee.” (2016-2017 Policy, Loss Payable

Provisions, Appdx Ex. 28). This difference is not material to the issues raised in this

motion.

      31.    Admitted.

      32.    Plaintiff admits PrimeOne was not contacted about the extent of

coverage before the March 2018 loss.


                                          1
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      33.    Plaintiff admits that the referenced application was submitted, that it

did not request any coverage for Plaintiff’s interest and that the subsequent renewal

policy provided no coverage to Plaintiff before the subject loss.

      34.    Admitted.

      35.    Admitted.

      36.    Admitted, but the CGL endorsement issued post loss (ECF No. 40-10,

PageID.1508) is not the same form issued as a part of the 2016-2017 policy (ECF

No. 40-5, PageID.1491-1492). However, the difference between the two forms is

not material to the issues raised in this motion.

      37.    Admitted.

      38.    Denied.     Mr. Greenfield testified that after Defendant issued

Endorsement #04, he allegedly reached a different conclusion of the “true”

relationship of the parties based on the same information he previously reviewed

before Defendant issued Endorsement #04. (S. Greenfield dep., pp. 121:9-123:11,

ECF No. 40-3, Page ID.1471).

                             LAW AND ARGUMENT

      Defendant admits both the existence of Endorsement #04 and the fact that it

was a mutual modification of the parties’ contract.1 Defendant additionally admits



1
  Defendant’s brief, p. 11: “… when [PrimeOne] agreed with Plaintiff’s request to
issue Endorsement #04.” (ECF No. 40, PageID.1406).

                                           2
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Endorsements #05 and #06 were unilateral modifications of the parties’ contract,

made without Plaintiff’s prior knowledge or consent.2 Plaintiff argues in its motion

that a mutual modification is enforceable and a unilateral modification is not

enforceable unless signed by the party against whom it is to be enforced. In its

response, Defendant ignored this argument, thereby tacitly conceding it.

      Defendant’s opposition to Plaintiff’s motion is based on its bare assertion,

without evidence or explanation, that it did not intend to waive its “right to rely on

the original provisions of the insurance policy issued to the named insured, Edition

BC Owners, LLC, providing coverage to Plaintiff under the property section of the

policy merely as a Loss Payee.”3 (EFC No. 40, PageID.1405). This bare assertion

cannot be reconciled with the express language of Endorsement #04, which states

the policy is amended to add Plaintiff as a Lender’s Loss Payable under the Building

and Personal Property Coverage Form and that “all other terms and conditions

remain the same.” (Emphasis added). Defendant fails to explain how Endorsement

#04, which it voluntarily issued and signed, can be interpreted as anything other than

an intentional relinquishment of a known right.



2
 Defendant’s brief, p. 12: “PrimeOne cancelled Endorsement #04 and issued
Endorsement #06…” (ECF No. 40, PageID.1407).
3
   It is unclear whether Defendant is referring to the expired 2016-2017 policy or to
its post-loss Endorsement #02 adding Plaintiff as a “Loss Payable” to the 2017-2018
policy. (ECF No. 40-10, Page ID.1506).

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      Defendant does not dispute it knowingly added Plaintiff to the 2017-2018

policy by issuing post-loss Endorsements #01 and #02, which insured Plaintiff as a

Loss Payable under the property coverage form and an Additional Insured under the

commercial general liability coverage form.         Defendant does not dispute it

knowingly replaced Plaintiff’s coverage as a Loss Payable under the property

coverage form with coverage as a Lender’s Loss Payable when it issued post-loss

Endorsement #04. Instead, Defendant argues it misunderstood the “true” nature of

the parties’ relationships. Even if this were true, which is unlikely, it is of no

consequence, since at most Defendant implies it made a unilateral mistake.4

However, Defendant does not allege fraud or inequitable conduct that could justify

the reformation of the parties’ contract. 5 More significantly, Defendant does not

request that equitable relief.

                                  CONCLUSION

      Plaintiff has met its burden of production of establishing that Endorsement

#04, which insured Plaintiff as a Lender’s Loss Payable under the Loss Payable


4
   See Defendant’s brief, p. 12: “Stephen Greenfield, did not fully appreciate the
true nature of relationship between ZMCC, Edition BC Owners and Conant Property
Management until after he approved the issuance of Endorsement #04.” (ECF No.
40, Page ID.1407).
5
  Reformation is an equitable remedy that is available when there has been a mutual
mistake of fact, a mutual mistake of law, or a unilateral mistake of fact by one party
and fraud or inequitable conduct by the other. Johnson Family Ltd. P'ship v. White
Pine Wireless, LLC, 281 Mich. App. 364, 379-381, 761 N.W.2d 353, 363 (2008).

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Provisions of the insurance policy’s property coverage, is an enforceable

modification of the parties’ contract. Defendant has failed to meet its burden of

production of identifying specific facts rebutting Plaintiff’s argument that

Endorsement #04 is an enforceable modification of the parties’ contract.

Defendant’s bare assertion that it did not intend to waive any of its rights when it

agreed to mutually modify the parties’ contract to add Plaintiff as a Lender’s Loss

Payable is wholly inconsistent with and unsupported by the express language of

Endorsement #04 and does not create a genuine issue of material fact.

      In sum, Defendant offers the Court no grounds for denying Plaintiff’s motion

for partial summary judgment. Therefore, Plaintiff respectfully requests the Court

to grant Plaintiff’s motion for partial summary judgment and enter an order declaring

Plaintiff’s coverage under the subject 2017-2018 policy of insurance as a Lender’s

Loss Payable.

                                Respectfully submitted,

                                /s/ Jason J. Liss
                                Jason J. Liss (P48742)
                                Fabian, Sklar, King & Liss, P.C.
                                Attorneys for Plaintiff
                                33450 W. Twelve Mile Road
                                Farmington Hills, MI 48331
                                (248) 553-2000
                                jliss@fabiansklar.com

Dated: December 9, 2020




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                        CERTFICATE OF SERVICE

Susan Harwell-Okerstrom certifies and states that on December 9, 2020, I
electronically filed the foregoing document with the Clerk of the Court using the
United States District Court’s CM/ECF filing system, which will send notification
of such filing to the following: David J. Berkal (dberkal@mcbpc.com).

                               /s/ Susan E. Harwell-Okerstrom
                               Susan E. Harwell-Okerstrom
                               sharwell@fabiansklar.com




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